
Roane, Judge.
The court is of opinion that as it is alleged by the appellant, is not denied by the appellee, and is moreover proved by the testimony, that a mortgage was given by Peter Beverley to Brocken ridge a creditor of the appellees, for a part of the debt d ue by the said Beverley to the appellee; that mortgage amounted to a waiver of the general lien existing upon the land under the sale of the same by the appellee to the said Beverley, on the authority of Bond v. Kent(a) and other cases on the same subject. The decree therefore is reversed for want of equity; except so far, as it prays for personal relief against Peter and Carter Beverley.

 2 Vern. 280, see Hie note to Chapman v. Turner. 1 Vern. 267.

Reporter.


